     Case 8:17-cv-00322-JVS-AGR Document 1 Filed 02/23/17 Page 1 of 10 Page ID #:1


      Joshua B. Swigart, Esq. (SBN: 225557)
 1
      josh@westcoastlitigation.com
 2    Veronica E. McKnight, Esq. (SBN: 306562)
      bonnie@westcoastlitigation.com
 3
      Hyde & Swigart
 4    2221 Camino Del Rio South, Suite 101
      San Diego, CA 92108
 5
      Office Number: (619) 233-7770
 6    Office Fax Number: (619) 297-1022
 7
 8
 9
      Attorneys for Plaintiff,
      Seyed Masih Kazerouni
10
11
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
12
      SEYED MASIH KAZEROUNI ;               Case No.:
13    INDIVIDUALLY AND ON
      BEHALF OF ALL OTHERS                  CLASS ACTION
14    SIMILARLY SITUATED,
                                            COMPLAINT FOR DAMAGES AND
15                 Plaintiff,               INJUNCTIVE RELIEF PURSUANT
                                            TO CALIFORNIA PENAL CODE §
16                         v.               632.7
17    SURVEY SAMPLING                       JURY TRIAL DEMANDED
18    INTERNATIONAL INC.,
19                 Defendant.
20
      ///
21
      ///
22
      ///
23
      ///
24
      ///
25
      ///
26
      ///
27
      ///
28

      CLASS ACTION COMPLAINT FOR DAMAGES      AND   INJUNCTIVE RELIEF PURSUANT      TO
      CALIFORNIA PENAL CODE § 632.7                                  PAGE 1 OF 10
     Case 8:17-cv-00322-JVS-AGR Document 1 Filed 02/23/17 Page 2 of 10 Page ID #:2



 1                                      INTRODUCTION
 2    1.    SEYED MASIH KAZEROUNI (“Plaintiff”) brings this class action for
 3          damages, injunctive relief, and any other available legal or equitable
 4          remedies, resulting from the illegal actions of SURVEY SAMPLING
 5          INTERNATIONAL, INC. and its related entities, subsidiaries and agents
 6          (“Defendant”) in willfully employing and/or causing to be employed certain
 7          recording equipment in order to record the telephone conversations of
 8          Plaintiff without the knowledge or consent of Plaintiff, in violation of
 9          California Penal Code § 632.7 thereby invading Plaintiff’s privacy. Plaintiff
10          alleges as follows upon personal knowledge as to her own acts and
11          experiences, and, as to all other matters, upon information and belief,
12          including the investigation conducted by her attorneys.
13    2.    California Penal Code § 632.7 prohibits one party to a telephone call from
14          intentionally recording the same conversation without the knowledge or
15          consent of the other while the person being recorded is on a cellular
16          telephone. Unlike California Penal Code § 632, there is no requirement
17          under California Penal Code § 632.7 that the communication be confidential.
18          Plaintiff alleges that Defendant continues to violate Penal Code § 632.7 by
19          impermissibly recording its telephone conversations with California
20          residents while said residents are on cellular telephones.
21                                JURISDICTION AND VENUE
22    3.    Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff, a
23          resident of the State of California, seeks relief on behalf of a national class,
24          which will result in at least one class member belonging to a different state
25          than that of Defendant, a company headquartered in Connecticut. Plaintiff
26          also seeks the greater of statutory damages of $5,000 per violation or three
27          times actual damages per violation pursuant to Penal Code § 637.2(a),
28          which, when aggregated among a proposed class number in the tens of

      CLASS ACTION COMPLAINT FOR DAMAGES          AND   INJUNCTIVE RELIEF PURSUANT      TO
      CALIFORNIA PENAL CODE § 632.7                                      PAGE 2 OF 10
     Case 8:17-cv-00322-JVS-AGR Document 1 Filed 02/23/17 Page 3 of 10 Page ID #:3



 1          thousands, exceeds the $5,000,000 threshold for federal court jurisdiction.
 2          Therefore, both diversity jurisdiction and the damages threshold under the
 3          Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court has
 4          jurisdiction.
 5    4.    Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
 6          Plaintiff resides in the County of Los Angeles, State of California which is
 7          within this judicial district; (ii) the conduct complained of herein occurred
 8          within this judicial district; and, (iii) Defendant conducted business within
 9          this judicial district at all times relevant.
10                                            PARTIES
11    5.    Plaintiff is, and at all times mentioned herein is, an individual citizen and
12          resident of the County of Orange in the State of California.
13    6.    Plaintiff is informed and believes, and thereon alleges, that Defendant is, and
14          at all times mentioned herein was, a company with its headquarters in
15          Connecticut. Defendant has a policy and practice of recording telephone
16          conversations with the public, including California residents. Defendant’s
17          employees and agents are directed, trained and instructed to, and do, record
18          cellular telephone conversations with the public, including California
19          residents.
20                                   FACTUAL ALLEGATIONS
21    7.    Defendant is, and at all times mentioned herein was, a professional
22          corporation. Plaintiff is informed and believes, and on the basis of that
23          information and belief alleges, that at all times mentioned in this Complaint,
24          Defendants were the agents and employees of their co-defendants, and in
25          doing the things alleged in this Complaint, were acting within the course and
26          scope of that agency and employment.
27    8.    At all times relevant, Plaintiff is an individual residing within the State of
28          California.

      CLASS ACTION COMPLAINT FOR DAMAGES             AND    INJUNCTIVE RELIEF PURSUANT      TO
      CALIFORNIA PENAL CODE § 632.7                                          PAGE 3 OF 10
     Case 8:17-cv-00322-JVS-AGR Document 1 Filed 02/23/17 Page 4 of 10 Page ID #:4



 1    9.    On or about December 21, 2016, Plaintiff received a telephonic
 2          communication from Defendant on Plaintiff’s cellular telephone ending in
 3          9322. During the conversation, Defendant asked for Plaintiff’s personal
 4          identification and referenced Plaintiff’s recent conversation with Mercedes
 5          Benz USA regarding a lease for his vehicle.
 6    10.   After speaking with Defendant’s representative for a period of time, Plaintiff
 7          inquired as to whether to phone call was being recorded.             Thereafter,
 8          Defendant’s representative informed Plaintiff that the entire conversation
 9          had been recorded. Subsequently, Plaintiff terminated the call with
10          Defendant’s representative because Plaintiff was angered that Defendant had
11          recorded Plaintiff without Plaintiff’s knowledge and/or consent.
12    11.   Plaintiff had no reasonable expectation that any of Plaintiff’s cellular
13          telephone conversations with Defendant would be recorded due to the
14          private subject matter being discussed.       Had Plaintiff known that said
15          conversation/s were being recorded, Plaintiff would have conducted and
16          spoken differently to the representative/s of Defendant.
17    12.   Plaintiff was shocked to discover that such a confidential communication
18          was being recorded by Defendant without Plaintiff’s knowledge or consent.
19    13.   Plaintiff found Defendant’s clandestine recording to be highly offensive due
20          to the delicacy of the topics discussed during said conversations.
21    14.   The conversations with Plaintiff, was without Plaintiff’s knowledge or
22          consent, recorded by Defendant, causing harm and damage to Plaintiff.
23          Prior to Plaintiff’s query on the matter, Plaintiff was never informed that
24          Plaintiff’s cellular telephone calls were being recorded. At no time during
25          the call did Plaintiff give consent for the cellular telephone call to be
26          monitored, recorded and/or eavesdropped upon.
27    15.   Plaintiff is informed and believes, and thereon alleges, that during the
28          relevant time period, Defendant has had all of its calls to the public,

      CLASS ACTION COMPLAINT FOR DAMAGES          AND   INJUNCTIVE RELIEF PURSUANT      TO
      CALIFORNIA PENAL CODE § 632.7                                      PAGE 4 OF 10
     Case 8:17-cv-00322-JVS-AGR Document 1 Filed 02/23/17 Page 5 of 10 Page ID #:5



 1          including those made to California residents, recorded without the
 2          knowledge or consent of the public, including Plaintiff and other California
 3          residents.
 4    16.   Defendant’s conduct alleged herein constitutes violations of the right to
 5          privacy to the public, including Plaintiff and other California residents, and
 6          California Penal Code § 630 et seq.
 7                              CLASS ACTION ALLEGATIONS
 8    17.   Plaintiff brings this action on behalf of herself and on behalf of all others
 9          similarly situated (“The Class”).
10    18.   Plaintiff represents, and is a member of, “The Class” defined as follows:
11          “All persons in California whose inbound and/or outbound cellular
12          telephone conversations were recorded without their consent by Defendant
13          within one year prior to the filing of the original Complaint in this action.”
14    19.   Defendant, and its employees and agents are excluded from The Class.
15          Plaintiff does not know the number of members in The Class, but believes
16          this number to be in the tens of thousands, if not more. Thus, this matter
17          should be certified as a Class action to assist in the expeditious litigation of
18          this matter.
19    20.   This suit seeks only damages and injunctive relief for recovery of economic
20          injury on behalf of The Class and it expressly is not intended to request any
21          recovery for personal injury and claims related thereto. Plaintiff reserves the
22          right to expand The Class definition to seek recovery on behalf of additional
23          persons as warranted as facts are learned in further investigation and
24          discovery.
25    21.   The joinder of The Class members is impractical and the disposition of their
26          claims in the Class action will provide substantial benefits both to the parties
27          and to the Court. The Class can be identified through Defendant’s records.
28

      CLASS ACTION COMPLAINT FOR DAMAGES           AND   INJUNCTIVE RELIEF PURSUANT      TO
      CALIFORNIA PENAL CODE § 632.7                                       PAGE 5 OF 10
     Case 8:17-cv-00322-JVS-AGR Document 1 Filed 02/23/17 Page 6 of 10 Page ID #:6



 1    22.   There is a well-defined community of interest in the questions of law and
 2          fact involved affecting the parties to be represented. The questions of law
 3          and fact to The Class predominate over questions which may affect
 4          individual Class members, including the following:
 5          a. Whether Defendant has a policy of recording incoming and/or outgoing
 6             calls made to cellular telephones;
 7          b. Whether Defendant discloses to callers and/or obtains their consent that
 8             their incoming and/or outgoing cellular telephone conversations were
 9             being recorded;
10          c. Whether Defendant’s policy of recording incoming and/or outgoing calls
11             constituted a violation of California Penal Code §§ 632.7 and/or 637;
12          d. Whether Defendant’s policy of recording incoming and/or outgoing calls
13             constitutes an invasion of privacy;
14          e. Whether Plaintiff and The Class were damaged thereby, and the extent of
15             damages for such violations; and
16          f. Whether Defendants should be enjoined from engaging in such conduct
17             in the future.
18    23.   Plaintiff is asserting claims that are typical of The Class because every other
19          member of The Class, like Plaintiff, was exposed to virtually identical
20          conduct and are entitled to the greater of statutory damages of $5,000 per
21          violation or three times actual damages per violation pursuant to Penal Code
22          § 637.2(a).
23    24.   Plaintiff will fairly and adequately represent and protect the interests of The
24          Class in that Plaintiff has no interest antagonistic to any member of The
25          Class. Plaintiff has retained counsel experienced in handling class action
26          claims to further ensure such protection.
27    25.   Plaintiff and the members of The Class have all suffered irreparable harm as
28          a result of the Defendant’s unlawful and wrongful conduct. Absent a class

      CLASS ACTION COMPLAINT FOR DAMAGES            AND   INJUNCTIVE RELIEF PURSUANT      TO
      CALIFORNIA PENAL CODE § 632.7                                        PAGE 6 OF 10
     Case 8:17-cv-00322-JVS-AGR Document 1 Filed 02/23/17 Page 7 of 10 Page ID #:7



 1          action, The Class will continue to face the potential for irreparable harm. In
 2          addition, these violations of law will be allowed to proceed without remedy
 3          and Defendant will likely continue such illegal conduct. Because of the size
 4          of the individual Class member’s claims, few, if any, Class members could
 5          afford to seek legal redress for the wrongs complained of herein.
 6    26.   A class action is a superior method for the fair and efficient adjudication of
 7          this controversy. Class-wide damages are essential to induce Defendant to
 8          comply with federal and California law. The interest of The Class members
 9          in individually controlling the prosecution of separate claims against
10          Defendant is small because the maximum statutory damages in an individual
11          action for violation of privacy are minimal. Management of these claims is
12          likely to present significantly fewer difficulties than those presented in many
13          class claims.
14    27.   Defendant has acted on grounds generally applicable to The Class, thereby
15          making appropriate final injunctive relief and corresponding declaratory
16          relief with respect to The Class as a whole.
17                                FIRST CAUSE OF ACTION
18              INVASION OF PRIVACY: VIOLATION OF PENAL CODE § 632.7
19    28.   Plaintiff incorporates by reference all of the above paragraphs of this
20          Complaint as though fully stated herein.
21    29.   Californians have a constitutional right to privacy. Moreover, the California
22          Supreme Court has definitively linked the constitutionally protected right to
23          privacy within the purpose, intent and specific protections of the Privacy
24          Act, including specifically, Penal Code § 632. “In addition, California’s
25          explicit constitutional privacy provision (Cal. Const., 1 § 1) was enacted in
26          part specifically to protect California from overly intrusive business
27          practices that were seen to pose a significant and increasing threat to
28          personal privacy. (Citations omitted). Thus, Plaintiff believes that California

      CLASS ACTION COMPLAINT FOR DAMAGES          AND   INJUNCTIVE RELIEF PURSUANT      TO
      CALIFORNIA PENAL CODE § 632.7                                      PAGE 7 OF 10
     Case 8:17-cv-00322-JVS-AGR Document 1 Filed 02/23/17 Page 8 of 10 Page ID #:8



 1          must be viewed as having a strong and continuing interest in the full and
 2          vigorous application of the provisions of section 632 prohibiting the
 3          recording of telephone conversations without the knowledge or consent of
 4          all parties to the conversation.
 5    30.   California Penal Code § 632.7 prohibits in pertinent part “[e]very person
 6          who, without the consent of all parties to a communication…intentionally
 7          records, or assists in the…intentional recordation of, a communication
 8          transmitted between…a cellular radio telephone and a landline telephone.”
 9          Thus, on its face, California Penal Code § 632.7 precludes the recording of
10          all communications involving a cellular telephone.
11    31.   Though similar, California Penal Code § 632 and 632.7 are not duplicative
12          and protect separate rights. California Penal Code § 632.7 grants a wider
13          range of protection to conversations where one participant uses a cellular
14          phone or cordless phone. For example, the “confidential communication”
15          requirement of California Penal Code § 632 is absent from California Penal
16          Code § 632.7
17    32.   Plaintiff is informed and believes, and thereupon alleges, that Defendant
18          employed and/or caused to be employed certain recording equipment on the
19          telephone lines of all employees, officers, directors, and managers of
20          Defendant.
21    33.   Plaintiff is informed and believes, and thereupon alleges, that all these
22          devises were maintained and utilized to record each and every incoming and
23          outgoing telephone conversation over said telephone lines.
24    34.   Said recording equipment was used to record the cellular telephone
25          conversations of Plaintiff and the members of The Class, all in violation of
26          California Penal Code § 632.7.
27    35.   At no time during which these cellular telephone conversations were taking
28          place between Defendant or any employee, agent, manager, officer, or

      CLASS ACTION COMPLAINT FOR DAMAGES        AND   INJUNCTIVE RELIEF PURSUANT      TO
      CALIFORNIA PENAL CODE § 632.7                                    PAGE 8 OF 10
     Case 8:17-cv-00322-JVS-AGR Document 1 Filed 02/23/17 Page 9 of 10 Page ID #:9



 1          director of Defendant, and any other person, did Defendant inform Plaintiff
 2          or any other member of The Class recording of their cellular telephone
 3          conversations were taking place and at no time did Plaintiff or any other
 4          member of The Class consent to this activity.
 5    36.   Defendant, knowing that this conduct was unlawful and a violation of
 6          Plaintiff and the members of The Class’ right to privacy and a violation of
 7          California Penal Code § 630, et seq., did intrude on Plaintiff and the
 8          members of The Class’ privacy by knowingly and/or negligently and/or
 9          intentionally engaging in the aforementioned intercepting, eavesdropping,
10          listening, and recording activities relative to the telephone conversations
11          between Plaintiff and The Class members, on the one hand, and Defendant
12          on the other hand, as alleged herein above.
13    37.   Based on the foregoing, Plaintiff and the members of The Class are entitled
14          to, and below herein do pray for, their statutory remedies and damages,
15          including but not limited to, those set forth in California Penal Code § 637.2.
16    38.   Because this case is brought for the purposes of enforcing important rights
17          affecting the public interest, Plaintiff and The Class seek recovery of their
18          attorney’s fees pursuant to the private attorney general doctrine codified in
19          Code of Civil Procedure § 1021.5, or any other statutory basis.
20                                   PRAYER FOR RELIEF
21          Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and The
22    Class members the following relief against Defendant:
23          • That this action be certified as a class action on behalf of The Class and
24             Plaintiff be appointed as the representative of The Class;
25          • For $5,000 per violation of California Penal Code § 632.7 for Plaintiff
26             and each member of The Sub-Class;
27          • Injunctive relief in the form of an order requiring Defendant to disgorge
28             all ill-gotten gains and awarding Plaintiff and The Class full restitution of

      CLASS ACTION COMPLAINT FOR DAMAGES          AND   INJUNCTIVE RELIEF PURSUANT      TO
      CALIFORNIA PENAL CODE § 632.7                                      PAGE 9 OF 10
 Case 8:17-cv-00322-JVS-AGR Document 1 Filed 02/23/17 Page 10 of 10 Page ID #:10



 1             all monies wrongfully acquired by Defendant by means of such unfair
 2             and unlawful conduct;
 3         • That the Court preliminarily and permanently enjoin Defendant from
 4             recording, each and every oncoming and outgoing cellular telephone
 5             conversation with California residents, including Plaintiff and The Class,
 6             without their prior consent, as required by California Penal Code § 630,
 7             et seq., and to maintain the confidentiality of the information of Plaintiff
 8             and The Class;
 9         • For general damages according to proof;
10         • For special damages according to proof;
11         • For exemplary or punitive damages;
12         • For costs of suit;
13         • For prejudgment interest at the legal rate; and
14         • For such further relief as this Court deems necessary, just, and proper.
15                                      TRIAL BY JURY
16         Pursuant to the seventh amendment to the Constitution of the United States
17   of America, Plaintiff is entitled to, and demands, a trial by jury.
18
19
     Dated: February 23, 2017                              Respectfully submitted,
20
21
                                                           HYDE & SWIGART
22
23
24
                                                          By: ___/s/ Joshua B/ Swigart___
25                                                              JOSHUA B. SWIGART, ESQ.
                                                                ATTORNEY FOR PLAINTIFF
26
27
28

     CLASS ACTION COMPLAINT FOR DAMAGES            AND   INJUNCTIVE RELIEF PURSUANT      TO
     CALIFORNIA PENAL CODE § 632.7                                       PAGE 10 OF 10
